Case 1:18-cr-00083-TSE Document 85 Filed 06/12/18 Page 1 of 3 PageID# 1557



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

 UNITED STATES OF AMERICA,                    )
                                              )
                Plaintiff,                    )       Criminal No. 1:18-cr-00083-TSE
                                              )
 v.                                           )       Judge T. S. Ellis, III
                                              )
 PAUL J. MANAFORT, JR.,                       )
                                              )
                Defendant.                    )


        DEFENDANT PAUL J. MANAFORT, JR.’S NOTICE TO THE COURT
      REGARDING HEARING ON PRETRIAL RELEASE BEFORE THE UNITED
         STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

         Defendant Paul J. Manafort, Jr., by and through counsel, hereby notifies the Court

 that on June 8, 2018, he submitted his opposition to the Special Counsel’s motion to revoke

 or revise the order of pretrial release in United States v. Manafort, 1:17-CR-201 (D.D.C.)

 (ABJ). The opposition and its exhibit are attached collectively as Exhibit A. The United

 States District Court for the District of Columbia will hold a hearing on the issue on June

 15, 2018. Defendant suggests that this Court’s consideration of the allegations that are the

 basis for the pending motion to revoke or revise the order of pretrial release should take

 place following the completion of June 15, 2018, hearing.

 Dated: June 12, 2018                          Respectfully submitted,

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                                              1
Case 1:18-cr-00083-TSE Document 85 Filed 06/12/18 Page 2 of 3 PageID# 1558




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                                     Counsel for Defendant Paul J. Manafort, Jr.




                                    2
Case 1:18-cr-00083-TSE Document 85 Filed 06/12/18 Page 3 of 3 PageID# 1559



                              CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of June, 2018, I will electronically file the

 foregoing with the Clerk of Court using the CM/ECF system, which will then send a

 notification of such filing (NEF) to the following:

 Andrew A. Weissman
 Greg D. Andres
 U.S. Department of Justice
 Special Counsel’s Office
 950 Pennsylvania Avenue NW
 Washington, DC 20530
 Telephone: (202) 616-0800
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                                               s/ Jay R. Nanavati
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                                              3
